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                              IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO
JASON T. GATLIN,

                 Plaintiff,

vs.                                                                  1:20-cv-00865-JCH-LF

NEW MEXICO DEPARTMENT OF CORRECTIONS,
and CORECIVIC INC.,

                 Defendants.

                    ORDER ADOPTING MAGISTRATE JUDGE’S
               PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

         The Magistrate Judge filed her Proposed Findings and Recommended Disposition

regarding defendant CoreCivic Inc’s. motion to dismiss (Doc. 8) and defendant New Mexico

Department of Corrections’ motion to dismiss plaintiff's complaint (Doc. 16), on February 9,

2022. Docs. 22 and 23, respectively. The proposed findings notified the parties of their ability

to file objections within fourteen (14) days and that failure to do so waived appellate review.

Doc. 22 at 24; Doc. 23 at 14. To date, the parties have not filed any objections, and there is

nothing in the record indicating that the proposed findings were not delivered.

         Wherefore,

         IT IS HEREBY ORDERED AS FOLLOWS:

      1. The Magistrate Judge’s Proposed Findings and Recommended Dispositions (Docs. 22
         and 23) are ADOPTED;

      2. Defendant CoreCivic Inc’s. motion to dismiss (Doc. 8) is GRANTED in part, and
         defendant New Mexico Department of Corrections’ motion to dismiss plaintiff's
         complaint (Doc. 16) is GRANTED in part;

      3. Mr. Gatlin’s constitutional claims in Counts 1, 2, and 3 against CoreCivic are dismissed
         with prejudice;

      4. Mr. Gatlin’s constitutional claims against NMCD in Counts 1, 2, and 3 are dismissed
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   with prejudice; and

5. The Court will not exercise supplemental jurisdiction over Mr. Gatlin’s state law claims
   in Counts 4 and 5, and remands those claims to the Second Judicial District Court,
   Bernalillo County, State of New Mexico.




                                            _______________________________________
                                            SENIOR UNITED STATES DISTRICT JUDGE




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